  Case 3:17-cv-00780-D Document 36 Filed 10/05/18             Page 1 of 14 PageID 1056


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

BILL KAPRANTZAS,                            §
                                            §
                     Plaintiff,             §
                                            § Civil Action No. 3:17-CV-0780-D
VS.                                         §
                                            §
CITIMORTGAGE, INC.,                         §
                                            §
                     Defendant.             §

                                  MEMORANDUM OPINION
                                      AND ORDER

       Defendant CitiMortgage, Inc. (“Citi”) moves for summary judgment in this action

arising from a residential foreclosure. The dispositive question presented is whether Citi had

a duty under RESPA1 and its implementing regulation2 to evaluate plaintiff Bill Kaprantzas’

(“Kaprantzas’”) application for loss mitigation options and cease foreclosure. For the

following reasons, the court concludes that Citi is entitled to summary judgment and

dismisses this action with prejudice.

                                              I

       In 1996 Kaprantzas and his wife purchased real property (“property”) located in

Mesquite, Texas.3 To finance the purchase, Kaprantzas borrowed $92,620.00 (“loan”) and


       1
        The Real Estate Settlement Procedures Act of 1974, 12 U.S.C. §§ 2601-2617.
       2
        Regulation X, 12 C.F.R. § 1024.
       3
        In deciding this motion, the court views the evidence in the light most favorable to
Kaprantzas as the summary judgment nonmovant and draws all reasonable inferences in his
favor. See, e.g., Owens v. Mercedes-Benz USA, LLC, 541 F.Supp.2d 869, 870 n.1 (N.D. Tex.
  Case 3:17-cv-00780-D Document 36 Filed 10/05/18              Page 2 of 14 PageID 1057


executed an adjustable rate note (“note”), promising to repay the loan in its original amount

plus interest. To secure repayment of the note, Kaprantzas and his wife executed a deed of

trust granting a first lien against the property.

       In 2009 Kaprantzas’ loan was transferred to Citi. Both before and after this transfer,

Kaprantzas and his wife struggled to make timely payments on the loan.

       On October 6, 2016 Citi accelerated the debt and scheduled the property for

foreclosure on November 1. On October 12 Kaprantzas faxed a loss mitigation application

to Citi. Over the next five business days, Citi sent Kaprantzas four letters. First, on October

14 Citi sent a letter acknowledging receipt of the application; second, on October 17 Citi sent

a letter explaining that the application was complete and that Citi would notify Kaprantzas

if it needed additional documents; third, on October 18 Citi sent a letter advising Kaprantzas

that additional documents were needed to complete his application; and fourth, also on

October 18, Citi sent a letter rescheduling the foreclosure sale to January 3, 2017. Citi

followed up with Kaprantzas multiple times in an attempt to obtain the supplemental

documentation by its imposed deadline of November 17, but Kaprantzas did not provide any

additional documents and Citi closed Kaprantzas’ loss mitigation module on November 25.

       In December Kaprantzas began attempting to supplement his loss mitigation

application. For approximately two weeks, Kaprantzas and Citi communicated about the loss

mitigation application. On December 28 Citi mailed Kaprantzas an acknowledgment letter,


2008) (Fitzwater, C.J.) (citing U.S. Bank Nat’l Ass’n v. Safeguard Ins. Co., 422 F.Supp.2d
698, 701 n.2 (N.D. Tex. 2006) (Fitzwater, J.)).

                                              -2-
  Case 3:17-cv-00780-D Document 36 Filed 10/05/18               Page 3 of 14 PageID 1058


but it did not request additional documents. Instead of foreclosing on January 3, 2017, Citi

rescheduled the foreclosure sale to February 7. On January 12 Citi mailed new notices of

acceleration and sale to Kaprantzas, and on January 30 Citi sent Kaprantzas a loss mitigation

denial letter. The foreclosure sale took place as scheduled on February 7; Citi purchased the

property for $148,500.00. As of the date of the sale, Kaprantzas owed approximately

$273,000 on his loan and had not made a payment towards the loan since October 2013.4

       Kaprantzas remains in possession of the property, he has not tendered to Citi the

amount due on the loan, and Citi currently pays the insurance and taxes on the property.

Kaprantzas filed the instant action in March 2017, asserting violations of RESPA and the

Texas Debt Collection Practices Act (“TDCPA”), wrongful foreclosure, quiet title, and

trespass to title, and seeking declaratory relief, equitable relief, and an accounting. Citi now

moves for summary judgment on all of Kaprantzas’ claims.5 Kaprantzas opposes the motion.




       4
        In his response brief, Kaprantzas moves to strike Sheila Hackmann’s (“Hackmann’s”)
testimony regarding the amount due at the time of foreclosure. The basis of his evidentiary
objection is that the statement is conclusory because “[t]he affidavit does not state how this
amount was calculated nor does Defendant attach any documents to support this contention.”
P. Resp. 8-9. The court overrules Kaprantzas’ objection to Hackmann’s declaration. As Citi
points out in its reply brief, Hackmann’s declaration describes her role at Citi and lays the
proper foundation for a variety of business records, one of which substantiates her statement
that Kaprantzas owed approximately $273,000 on his loan. See D. Reply 1-2.
       5
        Citi has also filed a motion to strike, in which it objects to Kaprantzas’ timeline, loss
of equity analysis, and loss mitigation damage analysis, as well as to an electronic message
from Citi allegedly sent in early January 2017. Because the court has not relied on this
evidence in deciding Citi’s motion for summary judgment, it denies the motion to strike as
moot.

                                              -3-
  Case 3:17-cv-00780-D Document 36 Filed 10/05/18              Page 4 of 14 PageID 1059


                                              II

       Because Citi is moving for summary judgment on claims for which Kaprantzas will

bear the burden of proof at trial,6 Citi can meet its summary judgment obligation by pointing

the court to the absence of admissible evidence to support Kaprantzas’ claims. See Celotex

Corp. v. Catrett, 477 U.S. 317, 325 (1986). Once Citi does so, Kaprantzas must go beyond

his pleadings and designate specific facts showing that there is a genuine issue for trial. See

id. at 324; Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (en banc) (per

curiam). An issue is genuine if the evidence is such that a reasonable jury could return a

verdict in Kaprantzas’ favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

Kaprantzas’ failure to produce proof as to any essential element of a claim renders all other

facts immaterial. See Trugreen Landcare, L.L.C. v. Scott, 512 F.Supp.2d 613, 623 (N.D.

Tex. 2007) (Fitzwater, J.) (citing Edgar v. Gen. Elec. Co., 2002 WL 318331, at *4 (N.D. Tex.

Feb. 27, 2002) (Fitzwater, J.)). Summary judgment is mandatory if Kaprantzas fails to meet

this burden. Little, 37 F.3d at 1076.

                                              III

       The court turns first to Citi’s motion for summary judgment on the statute of

limitations, certain violations of the TDCPA (Tex. Fin. Code Ann. §§ 392.303(a)(2) and

392.304(a)(8) and (19)), wrongful foreclosure, and declaratory relief. Kaprantzas has


       6
        Although Citi also moves for summary judgment on its affirmative defense of judicial
estoppel, on which it would bear the burden of proof at trial, the court does not reach this
ground—and thus does not recite the summary judgment standard for that defense—because
the other grounds presented are dispositive.

                                             -4-
  Case 3:17-cv-00780-D Document 36 Filed 10/05/18               Page 5 of 14 PageID 1060


affirmatively “withdrawn”—and thus failed to designate specific facts raising a genuine issue

for trial on—these theories of recovery. Accordingly, the court grants summary judgment

dismissing the claims premised on violations of Tex. Fin. Code Ann. §§ 392.303(a)(2) and

392.304(a)(8) and (19), wrongful foreclosure, and declaratory relief.

                                              IV

         The court next considers Citi’s motion for summary judgment on Kaprantzas’ RESPA

claim.

                                               A

         RESPA was enacted to protect consumers from “unnecessarily high settlement

charges caused by certain abusive [mortgage] practices.” 12 U.S.C. 2601(a); Moreno v.

Summit Mortg. Corp., 364 F.3d 574, 576 (5th Cir. 2004). Regulation X implements RESPA,

and § 1024.41—entitled “Loss mitigation procedures”—specifically regulates loss mitigation

procedures provided by loan servicers. See 12 C.F.R. § 1024.41. Section 1024.41 does not

require that a servicer “provide any borrower with any specific loss mitigation option.” Id.

§ 1024.41(a). Instead, it specifies required procedures, including deadlines for reviewing

timely loss mitigation applications, and requirements for notifying borrowers in writing,

within 30 days of receipt of a complete loss mitigation application,7 which loss mitigation

options, if any, it will offer the borrower, or the specific reasons for denying a complete loss


         7
        Under § 1024.41(b)(1), “[a] complete loss mitigation application means an
application in connection with which a servicer has received all the information that the
servicer requires from a borrower in evaluating applications for the loss mitigation options
available to the borrower.”

                                             -5-
  Case 3:17-cv-00780-D Document 36 Filed 10/05/18               Page 6 of 14 PageID 1061


mitigation application. Id. § 1024.41(c)(1)(ii) and (d). “Section 1024.41 is privately

enforceable under § 6(f) of RESPA, 12 U.S.C. § 2605(f).” Ruiz v. PennyMac Loan Servs.,

LLC, 2018 WL 4772410, at *2 (N.D. Tex. Oct. 3, 2018) (Fitzwater, J.) (citing 12 C.F.R. §

1024.41(a)).

       In his complaint, Kaprantzas alleges that Citi violated four subsections of § 1024.41:

(b)(2), (c)(1), (g), and (h).8 Each of these subsections prescribes a different requirement with

which a mortgage servicer must comply, provided the loss mitigation application is timely.

                                               B

       Citi contends that Kaprantzas’ RESPA claim fails as a matter of law because, inter

alia, none of the protections or duties of § 1024.41(b)(2), (c)(1), (g), or (h) was triggered by

Kaprantzas’ loss mitigation application. Citi reasons that the application was never

“complete,” and, even if it was complete (or became complete), it was not submitted

sufficiently in advance of the scheduled foreclosure. Kaprantzas responds that Citi’s RESPA

obligations arose because, inter alia, he submitted his complete loss mitigation application

sufficiently in advance of the date that the foreclosure sale actually occurred.



       8
         Kaprantzas alleges that Citi violated § 1024.41(b)(2) “because it failed to promptly
review Plaintiff’s loss mitigation application for completeness and appropriately notify
Plaintiff of the same,” Compl. ¶ 54; that Citi violated § 1024.41(c)(1) “by failing to evaluate
Plaintiff’s loan modification application, notify Plaintiff of the same, including notifying
Plaintiff of his right to appeal a denial of said application,” id. ¶ 55; that Citi violated
§ 1024.41(g) “by conducting a foreclosure sale in the review period after Plaintiff submitted
a complete loss mitigation application,” id. ¶ 56; and that Citi violated § 1024.41(h) “by
failing to give Plaintiff the right to appeal before foreclosing on Plaintiff’s Property,” id. ¶
57.

                                             -6-
  Case 3:17-cv-00780-D Document 36 Filed 10/05/18                Page 7 of 14 PageID 1062


         The duties that § 1024.41(b)(2), (c)(1), and (g) impose are triggered only if the loss

mitigation application is submitted or received in compliance with the applicable deadline

prescribed by regulation. See 12 C.F.R. § 1024.41(b)(2)(i) (“If a servicer receives a loss

mitigation application 45 days or more before a foreclosure sale, a servicer shall . . . .”); id.

§ 1024.41(c)(1) (“[I]f a servicer receives a complete loss mitigation application more than

37 days before a foreclosure sale, then . . . a servicer shall . . . .”); id. § 1024.41(g) (“If a

borrower submits a complete loss mitigation application . . . more than 37 days before a

foreclosure sale, a servicer shall not . . . .”). And the right to appeal outlined in § 1024.41(h)

arises only if the loss mitigation application is received more than 90 days before a

foreclosure sale, or during the period set forth in § 1024.41(f). See id. § 1024.41(h)(1) (“If

a servicer receives a complete loss mitigation application 90 days or more before a

foreclosure sale or during the period set forth in paragraph (f) of this section, a servicer

shall . . . .”).

         Kaprantzas contends that the court should conclude that Citi’s RESPA obligations

arose because he submitted his complete loss mitigation application “more than forty days

prior to the February 7 foreclosure sale.” P. Resp. 12-13. Citi maintains that the scheduled

date at the time the loss mitigation application was received should control over the actual

date of the foreclosure sale for purposes of determining whether RESPA obligations arose.

The court agrees with Citi.

         Courts that have addressed this issue—including a federal court of appeals—have

concluded that the scheduled date controls over the actual date of foreclosure. See Lage v.

                                              -7-
  Case 3:17-cv-00780-D Document 36 Filed 10/05/18             Page 8 of 14 PageID 1063


Ocwen Loan Servicing LLC, 839 F.3d 1003, 1009-11 (11th Cir. 2016) (per curiam); see also

Grutsch v. Wells Fargo Bank, N.A., 2017 WL 1091681, at *4-6 (S.D. Ohio Mar. 23, 2017);

Garmou v. Kondaur Capital Corp., 2016 WL 3549356, at *5 (E.D. Mich. June 30, 2016).

As the Eleventh Circuit explained in Lage:

              to determine whether the Borrowers’ application was timely, we
              must ask whether, when the Borrowers submitted their complete
              loss mitigation application on January 27, more than 37 days
              remained before the foreclosure sale was scheduled to occur.
              Because we determine timeliness based on the scheduled date of
              the foreclosure sale as of the date the Borrowers’ complete
              application was received, it is irrelevant to our timeliness
              analysis that Ocwen subsequently rescheduled the foreclosure
              sale for a later date.

                     The Borrowers argue that we must use the date when the
              property was actually sold at foreclosure to assess whether their
              application was timely.          They assert that because §
              1024.41(b)(3) discusses when the foreclosure sale “occurs,” the
              relevant date for measuring timeliness is the date the foreclosure
              sale actually transpires. But this interpretation is inconsistent
              with the final clause of paragraph (b)(3), which plainly states
              that we must measure the proximity between the date of the
              foreclosure sale and the receipt of the complete loss mitigation
              application “as of the date a complete loss mitigation application
              is received.” We cannot adopt the Borrowers’ interpretation
              because it would render this phrase in the regulation
              meaningless.

Lage, 839 F.3d at 1010 (citations omitted).9


       9
        Section 1024.41(b)(3) provides:

              [t]o the extent a determination of whether protections under this
              section apply to a borrower is made on the basis of the number
              of days between when a complete loss mitigation application is
              received and when a foreclosure sale occurs, such determination

                                             -8-
  Case 3:17-cv-00780-D Document 36 Filed 10/05/18              Page 9 of 14 PageID 1064


       The Lage panel also explained that, although it need not consider rule commentary

because the language is unambiguous, the foregoing interpretation is consistent with the

Consumer Financial Protection Bureau’s (“Bureau’s”) adoption commentary. See id. (citing

Amendments to the 2013 Mortgage Rules, 78 Fed. Reg. 60,382, 60,396-97 (Oct. 1, 2013)).

In response to inquiries about how the timing provisions in § 1024.41 worked when a

foreclosure sale was rescheduled after a completed application was received, the Bureau

stated that, “for purposes of § 1024.41, timeliness based on the proximity of a foreclosure

sale to the receipt of a complete loss mitigation application will be determined as of the date

a complete loss mitigation application is received.” Id. (quoting 78 Fed. Reg. at 60,397).

The Bureau was concerned that certainty and simplicity would be compromised if the rule

were structured “such that a borrower’s rights may be added or removed because a

foreclosure sale was moved or rescheduled.” 78 Fed. Reg. at 60,397. The Bureau was also

“concerned that if moving a foreclosure sale to a later date could trigger new protections,

such a policy may provide a disincentive for a servicer to reschedule a foreclosure sale for

a later date.” Id. “The Bureau thus made clear that an untimely application should not

become timely simply because the servicer rescheduled a foreclosure sale.” Lage, 839 F.3d

at 1010.




              shall be made as of the date a complete loss mitigation
              application is received.

12 C.F.R. § 1024.41(b)(3) (emphasis added).

                                             -9-
 Case 3:17-cv-00780-D Document 36 Filed 10/05/18              Page 10 of 14 PageID 1065


                                              C

       In the present case, there are only two application dates that are necessary to analyze

to determine timeliness: October 12, 2016 and December 28, 2016. Kaprantzas alleges in

his complaint that his loss mitigation application was complete in October 2016; and he

asserts in his summary judgment response that his loss mitigation application was facially

complete on December 28, 2016 .10 The court need not resolve whether Kaprantzas’ October

12 or December 28 application was the one that was “complete” for purposes of evaluating

his RESPA claim. In either case, none of the § 1024.41 protections or duties was triggered.

                                              1

       The court first evaluates the October loss mitigation application. The uncontroverted

summary judgment evidence shows that Kaprantzas submitted a loss mitigation application

on October 12, 2016, and that, at that time, a foreclosure sale was scheduled for November

1. Even if the court assumes arguendo that Kaprantzas’ application was “complete” as of

October 12, no § 1024.41 duties were triggered because October 12 was only 20 days before

the scheduled foreclosure sale.11


       10
         Citi questions the propriety of Kaprantzas raising this “new theory” of facial
completeness as of December 28 in a response to summary judgment. Because the court can
dispense with Kaprantzas’ new theory with little difficulty, the court assumes, arguendo, that
the theory is properly before the court.
       11
         Although Kaprantzas implicitly acknowledges that his October loss mitigation
application was not “complete” and thus did not trigger RESPA protections (he does not
argue this position in his opposition), the court addresses the position because Kaprantzas
alleged in his complaint and testified at his deposition that his application was complete in
October.

                                            - 10 -
 Case 3:17-cv-00780-D Document 36 Filed 10/05/18             Page 11 of 14 PageID 1066


                                              2

       The court reaches the same result even if it assumes that the loss mitigation

application was complete as of December 28, 2016. The undisputed summary judgment

evidence establishes that, as of that date, a foreclosure sale was scheduled for January 3,

2017—or five days later. It was not until January 3 that the foreclosure was rescheduled for

February 7 (at which point the property was sold). Therefore, even if the court assumes that

Kaprantzas’ loss mitigation application was facially complete as of December 28, no RESPA

duties were triggered.

                                              3

       In his response to Citi’s motion, Kaprantzas also posits that he was entitled to appeal

because Citi received a complete loss mitigation application “before [it had] made the first

notice or filing as required by applicable law for any judicial or non-judicial foreclosure

process.” 12 C.F.R. § 1024.41(f)(2). The court disagrees. Kaprantzas maintains that his

application was complete on December 28 and that he did not receive first notice of the

foreclosure process until January 12, thus triggering a right to appeal. The summary

judgment evidence, however, would only enable a reasonable jury to find that Kaprantzas

received notice of the scheduled January 3 foreclosure on October 18. And the operative

time for analyzing whether duties or protections arise is as of the date the complete loss

mitigation application was received.

       In sum, whether the court uses October 12 or December 28 as the date of evaluating

Kaprantzas’ RESPA claim, the outcome is the same: no duties were triggered because

                                            - 11 -
 Case 3:17-cv-00780-D Document 36 Filed 10/05/18              Page 12 of 14 PageID 1067


Kaprantzas’ loss mitigation application—whether complete or not—was not submitted

sufficiently in advance of a scheduled foreclosure. That Citi rescheduled the foreclosure sale

did not make Kaprantzas’ application timely or trigger the protections of § 1024.41.

Accordingly, Kaprantzas has failed to raise a genuine issue of material fact on his RESPA

claim, and Citi is entitled to summary judgment.

                                              V

       The court next considers Citi’s motion for summary judgment on Kaprantzas’ TDCPA

claim. As discussed above, see supra § III, Kaprantzas has withdrawn his TDCPA claims

premised on Tex. Fin. Code Ann. §§ 392.303(a)(2) and 392.304(a)(8) and (19). Kaprantzas’

TDCPA claim premised on Tex. Fin. Code Ann. § 392.301(a)(8) remains.                  Section

392.301(a)(8) provides: “In debt collection, a debt collector may not use threats, coercion,

or attempts to coerce that employ any of the following practices . . . threatening to take an

action prohibited by law.”

       Citi maintains that Kaprantzas’ TDCPA claim fails, in part, because Citi’s actions

were not prohibited by RESPA. Kaprantzas responds that Citi “threaten[ed] to take an action

prohibited by law” by threatening to foreclose, and foreclosing, on Kaprantzas’ property

when doing so was prohibited by RESPA. Citi replies, inter alia, that regardless of

Kaprantzas’ RESPA claims, Citi did not violate § 392.301(a)(8) by threatening to foreclose

because it never waived its contractual right to foreclose.

       Because the court concludes that Kaprantzas failed to raise a genuine issue of material

fact on his RESPA claim, Kaprantzas’ TDCPA claim also fails. See Germain v. U.S. Bank

                                            - 12 -
 Case 3:17-cv-00780-D Document 36 Filed 10/05/18              Page 13 of 14 PageID 1068


Nat’l Ass’n, 2018 WL 1517860, at *7 (N.D. Tex. Mar. 28, 2018) (Lynn, C.J.) (“As discussed,

because the evidence shows that Ocwen complied with RESPA, Plaintiff’s claim that

Defendants unlawfully foreclosed on his Property because Ocwen failed to comply with

RESPA lacks merit.”), appeal docketed, No. 18-10508 (5th Cir. Apr. 27, 2018).

         And even had Kaprantzas raised a genuine issue of material fact on his RESPA claim,

he still would have failed to create a genuine and material fact issue on his allegation of a

TDCPA violation. This is so because a reasonable jury could not find that Citi was

threatening to take an action prohibited by law.

         Kaprantzas’ argument rests on a misapplication of McCaig v. Wells Fargo Bank

(Texas), N.A., 788 F.3d 463 (5th Cir. 2015), to the instant case. In McCaig a mortgagee

affirmatively waived its contractual right to foreclose via a settlement agreement. In the

present case, there is no evidence exists that suggests that Citi waived its contractual right

to foreclose. Citi was within its right to foreclose because it had not waived this right and

Kaprantzas had defaulted on his mortgage. See Rucker v. Bank of Am., N.A., 806 F.3d 828,

831 (5th Cir. 2015). Citi is therefore entitled to summary judgment on Kaprantzas’ TDCPA

claim.

                                              VI

         The court next considers Kaprantzas’ remaining claims of quiet title and trespass to

title, as well as the remedies of an accounting and equitable relief. Citi maintains that the

balance of Kaprantzas’ claims and remedies fail because each is premised on a violation of

RESPA or the TDCPA. The court agrees.

                                            - 13 -
 Case 3:17-cv-00780-D Document 36 Filed 10/05/18              Page 14 of 14 PageID 1069


       Kaprantzas maintains that he is entitled to recover on his title actions and to obtain

equitable relief because Citi’s foreclosure “was prohibited by federal regulations.” P. Resp.

18, 20. But Kaprantzas has failed to raise a genuine issue of material fact in this respect

because, as explained above, see supra § IV, Citi had no duty under the federal regulations

to cease foreclosure. And Kaprantzas acknowledges that an accounting is a form of relief,

thus implicitly acknowledging that he must have raised a genuine issue of material fact on

one of his causes of action to be entitled to this relief. Accordingly, a reasonable jury could

not find in Kaprantzas’ favor on his title claims or remaining forms of relief, and Citi is

entitled to summary judgment.

                                          *     *      *

       For the reasons explained, the court grants Citi’s motion for summary judgment and

dismisses Kaprantzas’ action with prejudice by judgment filed today.12

       SO ORDERED.

       October 5, 2018.



                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              SENIOR JUDGE




       12
        Citi’s motion to strike portions of the declaration of Kaprantzas is denied as moot.
See supra note 5.

                                              - 14 -
